       Case 2:22-cv-05209-GJP         Document 88       Filed 01/10/25       Page 1 of 2




                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA,

        Plaintiff,

               v.
                                                     Civ. A. No. 22-5209
 AMERISOURCEBERGEN CORPORATION;
 AMERISOURCEBERGEN DRUG
 CORPORATION; and INTEGRATED
 COMMERCIALIZATION SOLUTIONS, LLC,

       Defendants.


                            WITHDRAWAL OF APPEARANCE

       Kindly withdraw the appearance of Michael J. Wadden on behalf of Plaintiff United

States of America in the above-captioned matter.



                                                   Respectfully submitted,

                                                    /s/ Michael J. Wadden     o
                                                   MICHAEL J. WADDEN
                                                   Trial Attorney
                                                   U.S. Department of Justice
                                                   Civil Division
                                                   Consumer Protection Branch
                                                   450 5th Street, NW
                                                   Washington, DC 20530
                                                   (202) 305-7133
Dated: January 10, 2025                            michael.j.wadden@usdoj.gov
       Case 2:22-cv-05209-GJP          Document 88        Filed 01/10/25     Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that on January 10, 2025, I served the foregoing upon all counsel of

record via the Court’s CM/ECF electronic filing system.


Dated: January 10, 2025                             /s/ Michael J. Wadden         o
                                                    Michael J. Wadden
